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 7
                            UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9
     AUGUST IMAGE, LLC, a New York                     Case No.
10   Limited Liability Company,
11                                                     PLAINTIFF’S COMPLAINT FOR
     Plaintiff,                                        COPYRIGHT INFRINGEMENT
12
13   v.                                                Jury Trial Demanded

14   SAINT JANE, LLC, a California Limited
15   Liability Company; and DOES 1-10,

16   Defendants.
17
18           Plaintiff August Image, LLC hereby prays to this Court for relief based on the
19   following:
20                               JURISDICTION AND VENUE
21           1.     This action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et
22   seq.
23           2.     This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
24   1338(a)-(b).
25           3.     Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
26   1400(a) because this is the judicial district in which a substantial part of the acts and
27   omissions giving rise to the claims occurred.
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 1                                           PARTIES
 2         4.     August is a New York limited liability company located in New York,
 3   NY. A full-service rights managed collection, August represents an elite group of
 4   portrait, lifestyle, beauty, and fashion photographers for editorial and commercial
 5   licensing.
 6         5.     Upon information and belief, Defendant Saint Jane, LLC is a California
 7   limited liability company with a principal place of business located at 214 Main
 8   Street, #135, El Segundo, CA 90245. Defendant owns, operates, and/or controls the
 9   commercial website saintjanebeauty.com and its related/affiliated subdomains, mobile
10   websites, social media pages, and applications, including
11   instagram.com/saintjanebeauty (altogether, “Defendants’ Website”).
12         6.     Upon information and belief, Defendants Does 1-10 are other parties not
13   yet identified who have infringed the asserted copyrights. The true names, whether
14   corporate, individual, or otherwise, of Defendants Does 1-10 are presently unknown to
15   Plaintiff, which therefore sues said Defendants by such fictitious names and will seek
16   leave to amend this Complaint to show their true names and capacities when the same
17   have been ascertained.
18         7.     Upon information and belief, at all relevant times, each of the Defendants
19   was the agent, affiliate, officer, director, manager, principal, alter-ego, and/or
20   employee of the remaining Defendants, and was at all times acting within the scope of
21   such agency, affiliation, alter-ego relationship, and/or employment; and actively
22   participated in, subsequently ratified, and/or adopted each of the acts or conduct
23   alleged, with full knowledge of each violation of Plaintiff’s rights and the damages to
24   Plaintiff proximately caused thereby.
25                DEFENDANT’S UNAUTHORIZED EXPLOITATION OF
26                              THE SUBJECT PHOTOGRAPH
27         8.     A photographer represented by August took and owns the copyrights in
28   an original photograph registered with the U.S. Copyright Office (the “Subject

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 1   Photograph”). August is the exclusive licensing agent for that photographer and the
 2   Subject Photograph, entitling August to maintain this action under 17 U.S.C. § 501(b).
 3          9.    Following the publication and display of the Subject Photograph,
 4   Defendants, and each of them, exploited the Subject Photograph for commercial
 5   purposes on Defendants’ Website without August’s authorization:
 6
 7      #          Subject Photograph                         Accused Posts
       1.
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                       AU1993054
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20
            10.   To the extent Defendants exploited the Subject Photograph more than
21
     three years before the filing of this case, August did not know, and had no reason to
22
     know, of such exploitations.
23
                                FIRST CLAIM FOR RELIEF
24
            (Direct Copyright Infringement – Against All Defendants, and Each)
25
            11.   Plaintiff incorporates by reference the allegations contained in the
26
     preceding paragraphs of this Complaint.
27
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 1         12.      Upon information and belief, Defendants, and each of them, had access
 2   to the Subject Photograph, including through Plaintiff’s and or the relevant
 3   photographer’s websites, social media accounts, profiles, galleries, exhibitions, and/or
 4   authorized licensees; third-party websites or Internet search engines; and/or because
 5   the copies displayed on Defendants’ Website are verbatim copies of, and thus
 6   strikingly similar to, the Subject Photograph.
 7         13.      Defendants, and each of them, copied, displayed, distributed, reproduced,
 8   and otherwise exploited the Subject Photograph for commercial purposes on
 9   Defendants’ Website without Plaintiff’s authorization.
10         14.      Due to Defendants’ acts of copyright infringement, Plaintiff has suffered
11   damages in an amount to be established at trial.
12         15.      Due to Defendants’ acts of copyright infringement, Defendants, and each
13   of them, have obtained profits they would not have realized but for their infringement.
14   As such, Plaintiff is entitled to disgorgement of Defendants’ profits attributable to the
15   infringement in an amount to be established at trial.
16         16.      Upon information and belief, Defendants, and each of them, have
17   committed copyright infringement with actual or constructive knowledge of, or with
18   reckless disregard or willful blindness for, Plaintiff’s rights in the Subject Photograph,
19   such that said acts of copyright infringement were willful.
20                                    PRAYER FOR RELIEF
21         WHEREFORE, Plaintiff prays for judgment as follows:
22               a. That Defendants, each of them, their respective agents, and/or anyone
23                  else working on behalf of or in concert with Defendants or their
24                  respective agents, be enjoined from further exploiting the Subject
25                  Photograph for commercial purposes in any manner without Plaintiff’s
26                  authorization absent some independent legal right;
27               b. That Plaintiff be awarded all Defendants’ profits, and all Plaintiff’s
28                  losses, attributable to Defendants’ infringement, the exact sum to be

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 1               proven at the time of trial; or alternatively, if elected, statutory damages
 2               as available under 17 U.S.C. § 504;
 3            c. That Plaintiff be awarded its attorneys’ fees as available under 17 U.S.C.
 4               § 505;
 5            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
 6            e. That Plaintiff be awarded the costs of this action; and
 7            f. That Plaintiff be awarded such further legal and equitable relief as the
 8               Court deems proper.
 9                                      JURY DEMAND
10         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
11   38 and the 7th Amendment to the United States Constitution.
12
13                                                 Respectfully submitted,
14   Dated: April 25, 2025                         DONIGER / BURROUGHS
15                                          By:    /s/ Stephen M. Doniger
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                                                   Stephen M. Doniger, Esq.
                                                   Benjamin F. Tookey, Esq.
17                                                 Attorneys for Plaintiff
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